
Green, J.
delivered the opinion of the court.
This is a motion against the defendant for revenue collected in 1843, as sheriff of Putnam county. The motion is made in White county circuit court, and the judgment recites that the defendant resides in that part of the late county of Putnam, which was and is part of White county.
The motion is without notice. We do not think a motion will lie in this case. There never was legally and constitutionally such a county as Putnam. This we judicially know from the records of the chancery court. As the attempted organization of Putnam county was unconstitutional, and has been so declared, of course the elections vested no official character in the persons chosen: *138and therefore the bond executed by the defendant, under the supposition that he was sheriff, is a mere voluntary bond, upon which he may be sued at common law: but upon which no remedy by motion, as in the case of official bonds, exists.
Reverse the judgment.
